        Case 21-10271-JCM                       Doc 53        Filed 06/05/24 Entered 06/05/24 11:13:12                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              HARRY THEODORE BEAR


     Debtor 2              CINDY LUE BEAR
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          21-10271JCM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 QUICKEN LOANS LLC                                                                16

 Last 4 digits of any number you use to identify the debtor's account                         1   5   8   3

 Property Address:                             3320 KELLER RD
                                               WARREN PA 16365




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           0.00



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $615.90
         The next postpetition payment is due on                 8 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     HARRY THEODORE BEAR                                              Case number (if known) 21-10271JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     06/05/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     HARRY THEODORE BEAR                                        Case number (if known) 21-10271JCM
             Name




                                              Disbursement History

Date         Check #   Name                                   Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3)
07/26/2021   1204842   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                       1,329.52
08/26/2021   1207994   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         703.86
09/24/2021   1211099   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         696.79
10/25/2021   1214173   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         678.88
11/22/2021   1217206   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         675.52
12/23/2021   1220288   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         673.43
01/26/2022   1223348   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         672.13
02/23/2022   1226214   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         671.36
03/25/2022   1229192   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         722.95
04/26/2022   1232231   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         780.99
05/25/2022   1235273   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         821.01
06/27/2022   1238297   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         845.85
07/26/2022   1241235   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         798.47
08/24/2022   1244117   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         628.67
09/27/2022   1247001   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         628.67
10/25/2022   1249800   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         628.67
11/23/2022   1252592   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
12/22/2022   1255333   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
01/26/2023   1258064   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
02/23/2023   1260658   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
03/28/2023   1263442   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
04/25/2023   1266256   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
05/25/2023   1269125   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
06/26/2023   1272013   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
07/25/2023   1274755   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         617.81
10/25/2023   1282979   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                       1,184.98
11/27/2023   1285654   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         653.96
12/21/2023   1288228   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         615.90
01/26/2024   1290930   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         615.90
02/26/2024   1293572   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         615.90
03/26/2024   1296227   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         615.90
04/25/2024   1298891   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                         615.90
05/29/2024   1301595   QUICKEN LOANS LLC                      AMOUNTS DISBURSED TO CREDITOR                       1,231.80
                                                                                                                 23,667.30




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

HARRY THEODORE BEAR
CINDY LUE BEAR
3320 KELLER ROAD
WARREN, PA 16365

REBEKA A SEELINGER ESQ
4640 WOLF RD
ERIE, PA 16505

QUICKEN LOANS LLC
635 WOODWARD AVE
DETROIT, MI 48226

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




6/5/24                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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